               Case 8-20-73620-ast           Doc 3         Filed 12/17/20     Entered 12/17/20 18:38:57


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  UNITED STATES BANKRUPTCY COURT
  Eastern District of New York, Central Islip Division
  ------------------------------------------------------X
  In re
  Corrigan-Orosco, Caitlin Brooke Marie                                  Chapter 7

                                                                         Case No. 8:20-bk-73620

                               Debtor(s).                           STATEMENT PURSUANT TO LOCAL RULE 2017
  -----------------------------------------------------X

 I, Natalie Jean-Baptiste, Esq, an attorney admitted to practice in this Court, state:

 1. That I am the attorney for the above-named debtor(s) and am fully familiar with the facts herein.


 2. That prior to the filing of the petition herein, my firm rendered the following services to the above-named
 debtor(s):

                                 Date\Time                       Services


                                 10/12/2020                      Initial interview, analysis of
                                                                 financial condition, etc.


                                 12/16/2020                      Preparation and review of
                                                                 Bankruptcy petition


 3. That my firm will also represent the debtor(s) at the first meeting of creditors.

 4. That all services rendered prior to the filing of the petition herein were rendered by my firm.


 5. That my usual rate of compensation of bankruptcy matters of this type is $ 1,500.00


Dated: December 17, 2020



                                                                       /s/ Natalie Jean-Baptiste, Esq
                                                                       Natalie Jean-Baptiste, Esq
                                                                       Attorney for debtor(s)
                                                                       Law Office of Natalie Jean-Baptiste,
                                                                       P.C.
                                                                       626 Rxr Plz Fl 6
                                                                       Uniondale, NY 11556-0626
